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                                      ORDERED.
         Dated: June 01, 2022




                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION


In re:                                                      Case No. 8:21-bk-02521-CED

MORTGAGE INVESTORS CORPORATION,                             Chapter 7
a/k/a Veteran Home Loans,
a/k/a Veterans Information Department,

                 Debtor.
                                             /

              ORDER GRANTING MOTION TO APPROVE COMPROMISE
          FOLLOWING EXPIRATION OF NEGATIVE NOTICE PERIOD (Doc. 149)

          THIS MATTER came before the Court without a hearing on the Motion To Approve

Compromise and Notice Of Filing Trustee’s Supplemental Release In Favor Of Edwards-Related

Parties In Connection With Motion To Approve Compromise (Doc. Nos. 149 and 151 - together,

the “Motion to Compromise”) filed by Beth Ann Scharrer (the “Trustee”), as Chapter 7 Trustee

of the bankruptcy estate of Mortgage Investors Corporation (the “Debtor”). The Court having,

reviewed the Motion to Compromise, noted that it was served upon all interested parties with the

Local Rule 2002-4 negative notice legend informing the parties of their opportunity to respond

within twenty one (21) days of the date of service, noted that no party filed a response within the

time permitted, and therefore considering the matter to be unopposed, does hereby




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        ORDER as follows:

        1.      The Motion to Compromise is GRANTED. The compromise and settlement

between the Trustee, Debtor, Victor E. Bibby, Brian J. Donnelly, and William “Bill” L. Edwards

(together, the “Parties”) does not fall beneath the lowest point in the range of reasonableness, is

fair, reasonable, and in the best interests of the Debtor’s estate and its creditors, and is approved

pursuant to 11 U.S.C. § 105(a) and Fed. R. Bankr. P. 9019(a).

        2.      The Parties are hereby ordered to comply with the terms of the compromise and

settlement and are authorized to take all actions deemed necessary and appropriate to

consummate the transactions contemplated thereby.

        3.      The Court reserves jurisdiction to enforce the terms of the compromise and

settlement referenced in the Motion to Compromise and approved by this Order.

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Robert F. Elgidely, Esq. is directed to serve a copy of this order on interested parties who do not
receive service by CM/ECF and file a proof of service within three days of entry of this order.


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